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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

DELROY A. CHAMBERS, JR.,

      Plaintiff,

v.                                                  Case No: 8:21-cv-1550-MSS-AEP

TOWN & COUNTRY REAL
ESTATE OF WINTER HAVEN,
INC.,

      Defendant.


                   ORDER OF DISMISSAL WITH PREJUDICE

      Upon consideration of Plaintiff’s Notice of Voluntary Dismissal with Prejudice,

(Dkt. 19), and pursuant to Federal Rule of Civil Procedure 41, it is hereby

      ORDERED that this case is DISMISSED WITH PREJUDICE. Each party

shall bear its own attorneys’ fees and costs associated with this matter. This case shall

remain closed.

      DONE and ORDERED in Tampa, Florida, this 24th day of September 2021.




Copies furnished to:
Counsel of Record
Any pro se party
